Case 1:19-cr-00018-ABJ Document 100-1 Filed 05/10/19 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

= No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.
Gc fon dart. ;

dD. TION OF
Tam William Binney and I hereby declare:

Background

1. Tam a Cryptanalyst-mathematician.

2. T am a former employee of the National Security Agency (“NSA”).

3. I was a Russia specialist and worked in the operations side of intelligence, siartmg as
an analyst and ending a3 a Technical Director prior to becoming a geopolitical world “| echnical
Director.

4, Between 1965 and 1969, I spent four years working in the U.S. Army Secunity
Agency (the "ASA’). Until 1976, the ASA as the signals intelligence operation for the U.). Army.
Its mission was to intercept, acquire and decipher communications between persons, in electronic
or any other form.

5. A true and correct copy of my resume is aftached hereto as Exhibit 1.

6. After the Army, I spent 32 years working at the National Security Age:icy (the
"NSA’). The NSA is the signals intelligence agency within the Department of Defensc.
i At the NSA, TU held a variety of positions.
These included the followmg positions:

2001 - Technical Leader, Intelligence
Case 1:19-cr-00018-ABJ Document 100-1 Filed 05/10/19 Page 2 of 3

1999-2001 - Representative to the National Technology Alhance Executive
Board

1996-2001 - Member of the Senior Technical Review Panel

1995-2001 - Co-founder/Ieader of the Automation Research Center (ARC)

9000-2001 - Technical Director of the Analytic Services Office

1998-2000 - Chair of the Technical Advisory Panel to the Foreign Relation:
Council

1998-2000 - Analysis Skill Fieid Leader, Operations

1997-2000 - Technical Director, World Geopolitical and Military

1996-1997 - Technical Director, Russia

1975-1996 - Leading analyst for warming, Russia

10702975 - Analyst on Rises

9 When I left the NSA in 2001, I was the Technica! Leader for intelligenci: at the
agency. As Technical Leader, I was the senior technical person in analysis at the NSA.

10. Prior to that, I was the Technical Director of the Analytical Services Office. in such
position, I was responsible for handling all technical issues relating to the acquisition, deve! opment
and distribution of signals intelligence for the agency's 6,000 analysts. These analysis were
responsible for analysis and reporting for the entire world.

11, My duties mcluded working with foreign governments who receive signals
intelligence collected by the NSA. These include the so-called “Five Eyes" — £e. the intelligence

agencies for Australia, Canada, New Zealand, and the United Kingdom, mn addition to the: United
States.

12. At the NSA, I was the pnmary designer and developer of a number of programs
designed to acquire and analyze very large amounts of information and data files. The final
program I was addressing dealt with the acquisition of information from the internet.

Opini
13,  WikiLeaks did not receive the stolen data from the Russian government.
14. Intrinsic metadata im the publicly available files on WikiLcaks demonstrates that the

files that were acquired by Wikileaks were delivered in a medium such as a thumbdrive.
Case 1:19-cr-00018-ABJ Document 100-1 Filed 05/10/19 Page 3 of 3

physically local to the DNC.
5 ing R :

16. Forensic Fingerprint - An anomaly of the DNC data on the WikiLeaks si: is that
all last modified date and time stamps end m an even number. This is a aide effect of [des that
Lev seen copisea citcctly Son: a scurue spate, (uch a: 4 sys) © a pee wie om cys 4 =
thumbdrive. This is m contrast to files that have been copied from one server over the mlermet to
another system as used by hackers (7.e. Linux).

17. Time signatures - Guccifer 2.0 posted (time stamped) files it reveals a time
signature that allows us to calculate the speed the files was copied. As each file is copied j!:om the
source to the destination, the file is time stamped. All of the files constantly demonst ate they
were copied at specds massively greater than intcrnet speeds. This data came from "Guccifer 2.0."
Again, consistent with files copied directly and manually to a thumbdrive inside the buildin.

18. Missing day - The DNC files from WikiLeaks reveal that they were copied in three
tranches,'on May 23, 25, and 26; skipping the 24th. This would be more consistent with liles that
were being covertly copied when opportumities presented themselves, as opposed to a coll: ction of
files that had already been gathered and then transmitted as a collection to a destination. such as
WikiLeaks.

19. Time zone - While a weak indicator, it needs to be noted that the time zonis of the

files are more consistent with working hours im America rather than other sides of the glob:,

I declare under penalty of perjury that the foregoing is tue and correct. Ex:cuted m

_______ this _9th____ day of May, 2019. ey i
Mi OG

William E. Binney
a ce

